          Case 4:21-cv-00941-JM Document 24 Filed 03/14/22 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                  Central Division

STONE WORKS, LLC,                                 )
                                                  )
              Plaintiff,                          )
                                                  )
v.                                                )      Case No. 4:21-cv-941
                                                  )
RANDY SIMS, MEGAN SIMS, WILLIAM                   )
THOMAS, STONE CONCEPTS, LLC, MARTY                )
HESCH, and EDWARD FRALEY,                         )
                                                  )
                      Defendants.                 )



                              CERTIFICATE OF SERVICE

       The undersigned certifies that Defendant Edward Fraley served his Initial Rule 26(a)(1)
Disclosures, by electronic mail as a PDF attachment, on this 14th day of March, 2022, to the
following attorneys of record:

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          Case 4:21-cv-00941-JM Document 24 Filed 03/14/22 Page 2 of 2




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       The undersigned hereby certifies further that on this 14th day of March 2022, a true and
accurate copy of the foregoing instrument was mailed via U.S. Regular Mail postage prepaid to
Pro Se Defendant William Thomas, 1205 Anemone Dr., North Little Rock, AR 72117.
Respectfully submitted,

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